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COLUMBIA LEGAL SERVICES

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Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

J.Z., a minor, by and through DAVID C 3 --v 0 5 -~ 0 5 7 g "" F v S

GROESBECK, the proposed guardian

ad litem, and all others similarly No.
situated,
COMPLAINT
Plaintiffs,
vs. CLASS ACTION

NGUYEN VAN HANH, Ph.D., in his
official capacity as Director of the
United States Office of Refugee

 

 

Resettlement,
Defendant.
INTRODUCTION
l. This class action seeks declaratory and injunctive relief against the

director of the Offlce of Refugee Resettlemerit (ORR), Within the United States

Department of Health and Hurnan Services, for failing to provide the Plaintiff, and

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other similarly situated juvenile immigration detainees, with services necessary to
address the youth’s mental health needs, thereby placing the youth at risk for
significant harm, including suicide.

JURIS])ICTION & VENUE

2. This Court has jurisdiction under 28 U.S.C. § 1331.

3. Venue is proper in this district pursuant to 28 U.S.C. §§ 139l(b)(2),
l391(e)(2), and 1391(e)(3).

PARTIES

4. Plaintiff` J.Z. is 17 years old. He is a real party in interest in this case.
He is currently confined at Martin Hall, a privately-run juvenile detention facility
near Spokane, Washington, which houses juvenile immigration detainees pursuant
to a contract With the United States government

5. David Groesbeck is J.Z.’s proposed guardian ad litem. Mr. Groesbeck
is an attorney admitted to practice before this Court, as required by LR 17. l (a).

6. Defendant Nguyen Van Hanh, Ph.D., is the director of the Office of
Refugee Resettlement, Within the Administration for Children & Falnilies, a
division of the U.S. Department of Health and Human Services in Washington,
D.C. He is responsible for ensuring that ORR fulfills the duties assigned to that
office under the laW.

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FACTS
General Facts

7. A child under 18 who has no lawful immigration status in the U.S.,
with no parent or legal guardian in the U.S. available to provide the child with care
and physical custody, is known as an “unaccompanied alien child” (also referred to
as an “unaccompanied undocumented child”). 6 U.S.C. § 279(g)(2). Pursuant to
the Homeland Security Act of 2002, responsibility for the placement and care of
such children was transferred from the former Department of Irnmigration and
Naturalization Services to the Office of Refugee Resettlement, effective March 1,
2003. 6 U.S.C. § 279.

8. Unaccompanied undocumented children may, in some circumstances,
be held in a detention facility, pending the outcome of their immigration
proceedings

9. Martin Hall is a privately-run, secure juvenile detention facility near
Spokane, Washington. It houses both unaccompanied undocumented children, as
well as juveniles facing criminal charges or adjudicated delinquent, pursuant to
contracts with the federal government and various counties in eastern Washington.

10. Sorne portion of the unaccompanied undocumented children detained
in Washington have mental health needs that require attention from qualified

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mental health professionals Many have fled countries where they faced
abandonment, torture, abuse, or other atrocities.

1 1. ORR does not ensure that qualified professionals conduct meaningful
mental health screenings and suicide assessments on youth upon their arrival in
detention

12. To the extent that youth receive mental health screenings and suicide
assessments upon their arrival in detention, ORR does not ensure that these
screenings and assessments lead to appropriate referrals and the provision of
necessary mental health services

13. ORR does not ensure that an adequate number of qualified staff
members are available to deal directly with juveniles who have severe mental
health prob1ems. See INS Juvenile Protocol Manual; Juvenile Detention and
Shelter Care Program, § 5, standard 3-JDF-4C-l6 (1999).

14. ORR does not ensure that written, individual treatment plans are
developed by a qualified mental health practitioner for each juvenile requiring
close supervision See INS Juvenile Protocol Manual; Juvenile Detention and
Shelter Care Program, § 5, Standard 3-JDF-4C-30 (1999).

15.7 ORR does not ensure that mental health, psychiatric, and crisis
intervention services are available to unaccompanied undocumented children in

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detention on an as-needed basis See INS Juvenile Protocol Manual; Juvenile
Detention and Shelter Care Program, § 5, standard 3-JDF-5B-05.

16. Upon information and belief, it is Martin Hall’s practice to notify
ORR about any significant event affecting an unaccompanied undocumented child
in its custody.

17. Upon information and belief, ORR receives copies of all records
created by Martin Hall pertaining to unaccompanied undocumented youth detained
in that facility.

18. Several unaccompanied undocumented children have attempted
suicide while in detention at Martin Hall. In most cases, these youth were placed
in isolation, on “suicide watch,” but the federal officials responsible for their care
did not provide the youth with intervention or treatment from qualified mental
health professionals

19. The Defendant knew, or should have known, about the lack of mental
health services for juvenile immigration detainees in Washington at the time, or
shortly after, he was assigned responsibility for the placement and care of these
youth. However, he has not taken the necessary steps to ensure that these youth

routinely receive necessary mental health services

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Facts about Named Plaintiff

20. J.Z. is a 17-year-old Mexican national, seeking asylum and Special
lmmigrant Juvenile Status in the United States.

21. J.Z. fled to the United States when he was 14 in order to escape severe
physical abuse by family members

22. J.Z. was arrested in the U.S. and detained at Martin Hall on June 16,
2003. He remains confined at Martin Hall pending resolution of his immigration
claims

23. Shortly after his admission to Martin Hall, J.Z. responded to a mental
health questionnaire, noting that he was sad and depressed, that he was thinking
about killing himself, and that he needed help to keep from killing himself while he
was in detention In response to J.Z.’s answers on the questionnaire, the screener
recommended “special housing placement,” but declined to refer J.Z. to a mental
health professional.

24. The day after J.Z. completed the mental health questionnaire, a
CDMHP (County-Designated Mental Health Professional) met with the youth to
assess whether he was at imminent risk of harm. Although the CDMHP concluded
that J.Z. “[did] not appear to be at imminent risk toward self or others,” she noted
that he “would not confirm or deny thoughts of suicide” and that he “endorsed
thoughts of depression.”

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25. Upon information and belief, ORR received a copy of J.Z.’s
completed mental health questionnaire and CDMHP report, but failed to provide
him with necessary mental health services to address his needs

26. J.Z. tried to commit suicide twice in July, 2003, while confined at
Martin Hall.

27. During the first week of July, 2003, J.Z. tried to choke himself by
tying his sheets around his throat. Martin Hall staff place him in isolation, on
suicide watch.

28. On July 18, 2003, J.Z. attempted suicide by tying one end of a bed
sheet to his neck and the other end to his cell door. He pulled on the sheet in an
attempt to choke himself. Martin Hall staff placed him in isolation, on suicide
watch.

29. Martin Hall contacted ORR shortly after .1 .Z.’s first suicide attempt.
in addition, J.Z.’s pro bono immigration attorney spoke with ORR about the
suicide attempt The ORR representative informed J.Z.’s counsel that they would
look into getting a counselor to See .1 .Z. on a regular basis When ORR failed to
provide the necessary mental health services, J.Z.’s immigration attorney arranged
for a psychological evaluation to address .1 .Z.’s urgent mental health needs.

30. The psychologist who evaluated J.Z. at the request of his immigration

attorney diagnosed J.Z. with Major Depressive Disorder, Recurrent, Severe with

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Psychotic Features, as well as Posttraumatic Stress Disorder. She recommended
therapy and further assessment for psychotropic medications

31. After the first psychological evaluation, arranged by J.Z. ’s
immigration attomey, another psychologist, approved and paid for by ORR,
evaluated J.Z. and diagnosed him provisionally with Adjustment Disorder with
Depressed and Anxious Mood, with Oppositional-Defrant behavior traits, as well
as Posttraumatic Stress Disorder, Delayed Onset. This psychologist recommended
that J.Z. be prescribed psychotropic medications and stated that J.Z. was “in dire
need of an individual counselor.”

32. Despite two suicide attempts and recommendations from two
psychologists ORR still has not provided J.Z. with professional mental health
treatment In fact, .1 .Z. did not meet with a psychiatrist until October 7, 2003,
almost four months after ORR became aware that he was suicidal.

Facts Pertaining to Other Unaccompanied Undocumented Children Detained at
Martin Hall

33. Dylan McNiffe is a 16-year-old boy who was detained at Martin Hall
beginning in December, 2002.
34. Martin Hall staff were aware that Dylan had a history of physical and

sexual abuse, but did not provide him with mental health services

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35. ln March, 2003, Dylan had an episode where he became upset and
started throwing things Martin Hall staff restrained him and placed him in a
padded cell overnight Dylan was then placed in IMU, on suicide watch, for four
days However, ORR did not arrange for Dylan to receive mental health services
during that time.

36. Chris Chen was detained at Martin Hall for six months, beginning in
July, 2002. He was 15 years old at the time.

37. In October, 2002, Chris got very depressed and made himself pass out
by holding his breath and choking himself He was placed in the IMU on suicide
watch for one day, but did not receive any mental health services

CLASS ACTION ALLEGATIONS

38. J.Z. brings this action on behalf of himself, and all others who are
similarly situated, pursuant to Fed. R. Civ. P. 23(a) and 23 (b)(2). The Plaintiff
provisionally proposes the following class definition:

A11 youth, under 18, who currently are, or in the future
may be, confined at a detention facility in Washington
State, under the jurisdiction of the U.S. Department of
Homeland Security and/or the U.S. Department of Health
and Human Services, who have mental health needs

39. This is an appropriate class action because the proposed class is so
numerous that joinder of all members is impracticable

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40. There are questions of law and fact common to the class, including
whether the Defendant’s failure to provide adequate mental health services to
juvenile immigration detainees with mental health needs violates the youth’s rights
under the Fifth Amendment to the U.S. Constitution.

41, The claims of the named Plaintiff are typical of the claims of the class

42. The named Plaintiff will fairly and adequately protect the interests of
the class

43. The named Plaintiff has available competent counsel with experience
in civil rights, prisoners’ rights, and immigration law who are willing and able to
protect the interests of the class

44. The Defendant has acted or rehised to act on grounds generally
applicable to the class thereby making appropriate final declaratory and injunctive
relief with respect to the class as a whole.

CAUSES OF ACTION

45. The Defendant’s failure to ensure that unaccompanied undocumented
children in detention in Washington State receive adequate mental health
screenings and suicide assessments as well as necessary mental health
interventions and treatment, violates his duties under section 462 of the Homeland
Security Act of 2002, 6 U.S.C. § 279, actionable under Bivens v. Six Unknown

Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971).

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46. The Defendant’s failure to ensure that unaccompanied undocumented
children in detention in Washington State receive adequate mental health
screenings and suicide assessments as well as necessary mental health
interventions and treatment, violates his duties under the Fifth Amendment to the
U.S. Constitution, actionable under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971).

47. The Defendant’s failure to ensure that unaccompanied undocumented
children detained in Washington receive regular counseling and appropriate mental
health interventions when necessary violates the Plaintiffs’ rights under the
Stipulated Settlement Agreement in Flores v. Meese, No. CV 85-4544-RJK(Px)
(C.D. Cal. March 23, 1993) (stipulated settlement agreement).

REQUESTS FOR RELIEF

The Plaintiff asks this Court to grant the following relief:

48. Certify this case as a class action under Fed. R. Civ. P. 23(b)(2);

49. Issue a declaratory judgment, declaring that the Defendant has
violated the Plaintiffs’ right to receive necessary mental health care, guaranteed
under the Fifth Amendment, 6 U.S.C. § 279, and the Stipulated Settlement
Agreement in Flores v Meese.

50. Issue an injunction requiring the Defendant to ensure that all members
of the Plaintiff class receive professional, effective mental health screenings,

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including assessments for suicide risk, as well as necessary mental health
interventions and treatment;

51. Award Plaintiffs all reasonable costs and attorney fees incurred in
connection with this lawsuit, pursuant to the Equal Access to Justice Act, 28
U.S.C. § 2412(d), or any other applicable law; and

52 Grant Plaintiffs any other relief the Court deems appropriate and just.
Jf'
Respectfully submitted this 511 day of October, 2003.

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CERTIFICATE OF SERVICE
I, ATIENO ODHIAMBO, certify under penalty of perjury under the laws of the
State of Washington that a copy of the foregoing Complaint was served upon
Defendant, via Federal Express, properly addressed and prepaid, this 21St day of

October, 2003 to:
Nguyen Van Hanh, Ph.D., Director
Office of Rehigee Resettlement
Administration for Children & Families
370 L’Enfant Promenade, SW
6th Floor/East
Washington, DC 20447

gP
Signed this 611 day of October 2003 at Spokane, Washington.

 

Atiiino Odhiambo

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